           Case 16-13699-mdc           Doc 85 Filed 11/16/21 Entered 11/16/21 12:02:47                 Desc
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                                      UNITED STATES BANKRUPTCY COURT
                                     EASTERN DISTRICT OF PENNSYLVANIA



In re:                                                           : Chapter 13


Margaret T. Piscitelli                                           : Case No. 16−13699−mdc
                Debtor(s)


                                                    ORDER
                                 _____________________________________________


         AND NOW, this day , November 16, 2021 , it appearing that the trustee in the above

entitled matter has filed his report and that the trustee has performed all other duties required

in the administration of the debtor(s) estate, it is



         ORDERED that the trustee be discharged and relieved of any trust; and this case be, and

the same hereby is, closed.



                                                                 By The Court

                                                                 Magdeline D. Coleman
                                                                 Chief Judge , United States Bankruptcy Court




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                                                                                                                Form 195
